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                 BEFORE THE UNITED STATES JUDICIAL PANEL ON
                         MULTIDISTRICT LITIGATION




 In re: MultiPlan Health Insurance Provider      MDL No. 3121
 Litigation




                         SCHEDULE OF ADDITIONAL ACTION


     Case Caption                        Court        Civil Action No.        Judge

 1   Plaintiff (s): Peak Chiropractic    N.D.Ill.     1:24-cv-06284           Martha M.
     Health and Wellness LLC                          (Filed July 24, 2024)   Pacold
     Defendant(s): Multiplan, Inc.




Dated: July 24, 2024                      Respectfully submitted,

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